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 4   Attorney for Defendant
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:13-CR-00354-MCE
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   FARAH SARWAR, et al.,
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Christiaan Highsmith, Assistant United States Attorney, attorney for
18   plaintiff; Chris Haydn-Myer, attorney for defendant Farah Sarwar; and Michael E. Hansen,
19   attorney for defendant Hussain Shahzad, that the previously-scheduled status conference date
20   of February 12, 2015, be vacated and the matter set for status conference on April 9, 2015, at
21   9:00 a.m.
22          To date, the government has produced almost 15,000 pages of discovery.                This
23   continuance is requested to allow counsel additional time to review discovery with the
24   defendants, to examine possible defenses and to continue investigating the facts of the case.
25          The Government concurs with this request.
26          Further, the parties agree and stipulate the ends of justice served by the granting of such
27   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
28   that time within which the trial of this case must be commenced under the Speedy Trial Act


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 1   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 2   Local Codes T2 (complex case) and T4 (to allow defense counsel time to prepare), from the
 3   date of the parties’ stipulation, January 30, 2015, to and including April 9, 2015.
 4          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5          IT IS SO STIPULATED.
 6   Dated: January 30, 2015                                Respectfully submitted,
 7                                                          /s/ Michael E. Hansen
                                                            MICHAEL E. HANSEN
 8                                                          Attorney for Defendant
                                                            HUSSAIN SHAHZAD
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     Dated: January 30, 2015                                /s/ Michael E. Hansen for
10                                                          CHRIS HAYDN-MYER
                                                            Attorney for Defendant
11                                                          FARAH SARWAR
12   Dated: January 30, 2015                                BENJAMIN B. WAGNER
                                                            United States Attorney
13
                                                            By: /s/ Michael E. Hansen for
14                                                          CHRISTIAAN HIGHSMITH
                                                            Assistant U.S. Attorney
15                                                          Attorney for Plaintiff
16
17                                                ORDER
18          The Court, having received, read, and considered the stipulation of the parties, and
19   good cause appearing therefrom, adopts the stipulation of the parties in its entirety. Based on
20   the stipulation of the parties and the recitation of facts contained therein, the Court finds that it
21   is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
22   the time limits established in 18 U.S.C. section 3161. In addition, the Court specifically finds
23   that the failure to grant a continuance in this case would deny defense counsel to this
24   stipulation reasonable time necessary for effective preparation, taking into account the exercise
25   of due diligence. The Court finds that the ends of justice to be served by granting the requested
26   continuance outweigh the best interests of the public and the defendants in a speedy trial.
27          The Court orders that the time from the date of the parties’ stipulation, January 30,
28   2015, to and including April 9, 2015, shall be excluded from computation of time within which


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 1   the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
 2   section 3161(h)(7)(B)(iv), and Local Codes T2 (complex case) and T4 (reasonable time for
 3   defense counsel to prepare). It is further ordered that the February 12, 2015, status conference
 4   shall be continued until April 9, 2015, at 9:00 a.m.
 5          IT IS SO ORDERED.
 6   Dated: February 2, 2015
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